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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

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UNITED sTATEs oF AMERICA CT§§§,~ § § fast §§Ugr

W.D. of is.-if\ ' bN`
-vs- Case No. 1:05cr10034-001
LEAMoN MATLOCK

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

~ The Federal Public Defender is appointed as counsel for the Defendant. The defendant is
to pay the sum of $300.00 per month into the Registry of the Court to offset the cost of his
counsel.

TYPE OF APPOINTMENT
‘ All purposes including trial and appeal

DONE and ORDERED in l ll South Highland, Jackson, TN, this 077/§ day of April,

 

2005.
r_,,,_
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Copies funnshed to:
United States Attorney
United States Marshal
Pretrial Services Oftice Th_
Assistant Federal Public Defender _ 'S document entered 011th docket sh nn m nance

with Ru|e 55 and/or 32(b) FRCrP on _Qj§j:§

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CR-10034 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

Angela R. Scott

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M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

